          Case 3:13-cr-00985-DMS                         Document 33               Filed 04/16/13              PageID.35              Page 1 of 2


    'll!.AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
               Sheet I



                                              UNITED STATES DISTRICT                                      coiMt \G Fid2= 2'
                                                   SOUTHERN DISTRICT OF CALIFORNIA·
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CA~~tP '{
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                     JOSE GARCIA-HERNANDEZ (2)                                     Case Number: 13CR0985-DMS
                                                                                    Ricardo M Gonzalez CJA
                                                                                   Defendant's Attorney
    REGISTRATION NO. 38394298

    D
    THE DEFENDANT:
    181 pleaded gUilty to count(s) _2_0_f_t_he_In_fi_orm_a_t_io_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    D     was found guilty on count(s), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                          Nature of Offense                                                                             Number(s)
8 USC 1326                            REMOVED ALIEN FOUND IN THE UNITED STATES                                                             2




        The defendant is sentenced as provided in pages 2 through                _2_ _ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not gUilty on count(s)
 D Count(s)
                                                             ---------------------------------------------
                                                                          181        is        areD dismissed on the motion ofthe United States.
 181 Assessment: $100.00 ordered waived.


  181 Fine waived.                                   o    Forfeiture pursuant to order filed                                   , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material changc in the defendant's economic circumstances.

                                                                               APRIL 16,2013




                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                               13CR0985-DMS
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AO 245B (CASD) (Rev. 12111) Judgment In a Criminal Case
           Sheet 2 - Imprisonment

                                                                                              Judgment   Page   2    of       2
 DEFENDANT: JOSE GARCIA-HERNANDEZ (2)
 CASE NUMBER: 13CR0985-DMS
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED.




    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o    The court makcs the following recommendations to the Bureau of Prisons:




    o    The defendant is remanded to the custody of the United States Marshal.

    o    The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Da.m.      Dp.m.         on
               as notified by the United States Marshal.

     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before -----------------------------------------------------------------------
          o as     notitied by the United States Marshal.
          o     as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                     to

 at __________________________ , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL


                                                                        By
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                     13CR0985-DMS
